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    7
                            UNITED STATES DISTRICT COURT
    8
                           CENTRAL DISTRICT OF CALIFORNIA
    9
                                                     Case No.: 2:17-cv-08360-GW (KSx)
   10
        LESIA ANSON, an individual,
   11                                                 FOURTH AMENDED COMPLAINT
                          Plaintiff,                  FOR:
   12

   13        vs.                                      [1] COPYRIGHT INFRINGEMENT
                                                          (17 U.S.C. §§ 101 ET SEQ.);
   14                                                 [2] CONTRIBUTORY COPYRIGHT
        HARVEY WEINSTEIN, BOB
   15   WEINSTEIN, THE WEINSTEIN                          INFRINGEMENT;
        COMPANY, LLC, a limited                       [3] VICARIOUS COPYRIGHT
   16                                                     INFRINGEMENT;;
        liability company; DIMENSION
   17   FILMS, a corporation, MIRAMAX,                [4] VIOLATION OF LANHAM ACT
        LLC, a limited liability company,                 (15 U.S.C. § 1125(a)(1)(B));
   18                                                 [5] VIOLATION OF CALIFORNIA
        LIONSGATE ENTERTAINMENT
   19   CORPORATION,                                      BUS. AND PROF’L CODE
        ENTERTAINMENT ONE LTD., a                         §§ 17200 ET SEQ. and 17500
   20                                                     ET SEQ; and CALIFORNIA
        Canadian corporation, BLUMHOUSE
   21   PRODUCTIONS, LLC, a Delaware                      COMMON LAW UNFAIR
        limited liability company, LANTERN                COMPETITION; and
   22                                                 [6] DECLARATORTY RELIEF
        ENTERTAINMENT LLC, a Delaware
   23   limited liability company, and DOES               (28 U.S.C. § 2201).
   24
        1 through 10, inclusive,
                                                       DEMAND FOR JURY TRIAL
   25                     Defendants.
   26
   27        Plaintiff LESIA ANSON (hereinafter, the “Plaintiff”), by and through her
   28 attorney of record, hereby alleges as follows:

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    1                           JURISDICTION AND VENUE
    2        1.     This is a civil action for copyright infringement and injunctive
    3 relief under the United States Copyright Act, 17 U.S.C. §§ 101 et seq.

    4 (hereinafter, “the Copyright Act”), for unfair competition under the Lanham Act,

    5 15 U.S.C. § 1125(a), for declaratory relief under the Declaratory Judgment Act,

    6 28 U.S.C. § 2201, and related state law claims.

    7        2.     This Court has original subject matter jurisdiction over the claims
    8 set forth in this complaint pursuant to the Copyright Act, 17 U.S.C. § 101 et

    9 seq., 28 U.S.C. §§ 1331, 1332, and 1338(a) and (b), and the Declaratory

   10 Judgment Act, 28 U.S.C.§ 2201.

   11        3.     This Court has supplemental jurisdiction over the related state
   12 claims herein pursuant to 28 U.S.C. § 1367 (a) in that these claims form part of

   13 the same case and controversy as the federal claims herein.

   14        4.     This Court has personal jurisdiction over the defendants in that
   15 defendants are regularly doing business in the State of California and in this

   16 District, and because a substantial portion of the relevant acts complained of

   17 herein occurred in the State of California and in this District.

   18        5.     Venue is proper in the United States District Court for the Central
   19 District of California pursuant to 28 U.S.C. §§ 1391(b) and (c) and 1400(a)
   20 because the wrongful acts that give rise to the claims herein below occurred in

   21 this District and because defendants THE WEINSTEIN COMPANY,

   22 DIMENSION FILMS, MIRAMAX, LLC, LIONSGATE ENTERTAINMENT

   23 CORPORATION, ENTERTAINMENT ONE LTD., and BLUMHOUSE

   24 PRODUCTIONS, LLC (hereinafter collectively, the “Defendants”), have places

   25 of business or maintain offices in this District.

   26                             NATURE OF THE ACTION
   27        6.     Plaintiff LESIA ANSON is the widow and heir of Jay Anson
   28 (hereinafter, the “Author”), author of the best-selling fictional novel The

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    1 Amityville Horror (hereinafter, the “Novel”), and she is the proprietor of the

    2 copyright in the Novel.

    3        7.      Defendants THE WEINSTEIN COMPANY and DIMENSION
    4 FILMS are very tightly controlled by the brothers HARVEY WEINSTEIN and

    5 BOB WEINSTEIN, as was MIRAMAX previously. These are sophisticated

    6 entertainment companies whose core businesses are based on the value,

    7 exploitation and enforcement of copyrights.

    8        8.      This case arises out of Defendants’ unlawful production and recent
    9 release of a theatrical sequel motion picture entitled Amityville: The Awakening

   10 (formerly known as The Amityville Horror: The Lost Tapes) – a work clearly

   11 derived from the Novel, and promoted by Defendants as a sequel to the

   12 successful 1979 and 2005 films, entitled The Amityville Horror, based on the

   13 Novel.

   14        9.      In fact, the WEINSTEINS previously co-financed and co-
   15 distributed The Amityville Horror (2005), and, as such, were intimately familiar

   16 with the Novel and the film franchise it launched. Yet so brazen and unbridled

   17 were the WEINSTEINS’ desire to hijack the Novel and franchise that they never

   18 even attempted to license from Plaintiff the requisite underlying rights, a license

   19 they could well have afforded. To make matters worse, the Amityville Horror
   20 sequel film they illegally produced was of such poor quality, and consequently

   21 performed so miserably at the box office, that it substantially damaged the value

   22 of Plaintiff’s intellectual property. Furthermore, Plaintiffs are now concerned

   23 that Defendants will use the copyright in their unlawful sequel film to encumber

   24 or thwart current and future development of film, television, or other derivative

   25 works based on the Novel. Evidently, HARVEY and BOB WEINSTEIN believe

   26 they are perched above the law and can willfully misappropriate another’s
   27 property with impunity. As this case will demonstrate, they are soundly

   28 mistaken.

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   30                             FOURTH AMENDED COMPLAINT
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    1                                        PARTIES
    2        10.    Plaintiff LESIA ANSON is an individual and citizen of, and resides
    3 in, the State of Florida, in the County of Alachua, and is and at all times has

    4 been a citizen of the United States.

    5        11.    Plaintiff is informed and believes and based thereon alleges that
    6 Defendant THE WEINSTEIN COMPANY LLC (hereinafter “TWC”) is a

    7 limited liability company organized and existing under the laws of the State of

    8 Delaware, which has its corporate headquarters in the State of New York, and

    9 which regularly conducts significant ongoing business in the State of California

   10 and in the County of Los Angeles.

   11        12.    Plaintiff is informed and believes and based thereon alleges that
   12 Defendant DIMENSION FILMS (hereinafter “DIMENSION”) is a division of

   13 Defendant TWC, which has its corporate headquarters in the State of New York,

   14 and which regularly conducts significant ongoing business in the State of

   15 California and in the County of Los Angeles, and that DIMENSION is a wholly-

   16 owned division of Defendant TWC.

   17        13.    Plaintiff is informed and believes and based thereon alleges that
   18 Defendant MIRAMAX, LLC (hereinafter “MIRAMAX”) is a limited liability

   19 company organized and existing under the laws of the State of Delaware, which
   20 has its principal place of business in the State of California and in the County of

   21 Los Angeles, and that MIRAMAX was previously owned and controlled by

   22 HARVEY WEINSTEIN and BOB WEINSTEIN.

   23        14.    Plaintiff is informed and believes and based thereon alleges that
   24 Defendant HARVEY WEINSTEIN is an individual and citizen of, and resides in

   25 the State of New York, and is and at all times has been a citizen of the United

   26 States. Plaintiff is further informed and believes and based thereon alleges that
   27 HARVEY WEINSTEIN regularly conducts significant ongoing business in the

   28 State of California and in the County of Los Angeles. Plaintiff is further

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   30                            FOURTH AMENDED COMPLAINT
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    1 informed and believes and based thereon alleges that HARVEY WEINSTEIN is

    2 a founder, principal and co-owner of Defendants TWC and DIMENSION, and

    3 was the founder, and previously, a principal and an owner of Defendant

    4 MIRAMAX.

    5        15.    Plaintiff is informed and believes and based thereon alleges that
    6 Defendant BOB WEINSTEIN is an individual and citizen of, and resides in the

    7 State of New York, and is and at all times has been a citizen of the United

    8 States. BOB WEINSTEIN is the brother of HARVEY WEINSTEIN, and for

    9 decades, and at all times relevant hereto, was HARVEY WEINSTEIN’S close

   10 business partner. Plaintiff is further informed and believes and based thereon

   11 alleges that BOB WEINSTEIN, like HARVEY WEINSTEIN, regularly

   12 conducts significant ongoing business in the State of California and in the

   13 County of Los Angeles. Plaintiff is further informed and believes and based

   14 thereon alleges that BOB WEINSTEIN is a co-founder, co-principal and co-

   15 owner of Defendants TWC and DIMENSION, and was the co-founder, and

   16 previously, the co-principal and co-owner of Defendant MIRAMAX.

   17        16.    Plaintiff is informed and believes and based thereon alleges that at
   18 all time relevant hereto Defendants HARVEY WEINSTEIN and his brother

   19 BOB WEINSTEIN (hereinafter collectively, the WEINSTEINS) closely owned
   20 and controlled TWC and DIMENSION, and that all significant business and

   21 legal affairs of TWC and DIMENSION, regarding the subject matter of this

   22 action were knowingly made, determined and substantially controlled by the

   23 WEINSTEINS personally.

   24        17.    Plaintiff is informed and believes and based thereon alleges that
   25 Defendants TWC, DIMENSION, HARVEY WEINSTEIN and BOB

   26 WEINSTEIN are, and at all times material hereto were, the alter-egos of each
   27 other and there exists and has existed at all times material hereto a unity of

   28 interest and ownership among such Defendants such that any separateness has

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   30                            FOURTH AMENDED COMPLAINT
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    1 ceased to exist in that Defendants, and/or each of them, used assets of the other

    2 Defendants, and/or each of them, for its and/or their separate, individual

    3 purposes, and caused valuable assets, property, rights and/or interests to be

    4 transferred to each other without adequate consideration.

    5        18.    Plaintiff is informed and believes and based thereon alleges that at
    6 all times relevant hereto Defendant Lions Gate Entertainment Corporation d.b.a.

    7 Lionsgate (hereinafter, “LIONSGATE”) is an American, Canadian domiciled

    8 company formed in Vancouver, British Columbia, and has its principal place of

    9 business in the State of California and in the County of Los Angeles.

   10        19.    Plaintiff is informed and believes and based thereon alleges that at
   11 all times relevant hereto Defendant Entertainment One Ltd. (hereinafter,

   12 “ENTERTAINMENT ONE”) is an international distributor based in Toronto,

   13 Canada which does ongoing business in the State of California and in the

   14 County of Los Angeles.

   15        20.    Plaintiff is informed and believes and based thereon alleges that at
   16 all times relevant hereto Defendant Blumhouse Productions, LLC (hereinafter,

   17 “BLUMHOUSE”) is a limited liability company organized and existing under

   18 the laws of the State of Delaware, which has its corporate headquarters in the

   19 State of California and in the County of Los Angeles.
   20        21.    Plaintiff is informed and believes and based thereon alleges that at
   21 all times relevant hereto Defendant Lantern Entertainment LLC (hereinafter,

   22 “LANTERN”) was and is a limited liability company organized and existing

   23 under the laws of the State of Delaware, which has its corporate headquarters in

   24 Dallas, Texas, and which does ongoing business in the State of California and in

   25 the County of Los Angeles.

   26        22.    Plaintiff is informed and believes and based thereon alleges that the
   27 fictitiously named Defendants captioned hereinabove as Does 1 through 10,

   28 inclusive, and each of them (hereinafter “DOE(S)”) were in some manner

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   30                            FOURTH AMENDED COMPLAINT
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    1 responsible or legally liable for the actions, damages, events, transactions and

    2 circumstances alleged herein. The true names and capacities of such fictitiously

    3 named defendants, whether individual, corporate, associate, or otherwise are

    4 presently unknown to Plaintiff, and Plaintiff will amend this Complaint to assert

    5 the true names and capacities of such fictitiously named Defendants when the

    6 same have been ascertained. For convenience, each reference herein to a named

    7 Defendant or to Defendants shall also refer to the Doe Defendants and each of

    8 them.

    9         23.   Plaintiff is informed and believes and based thereon alleges that
   10 each of the Defendants was the agent, partner, servant, employee, or employer of

   11 each of the other Defendants herein, and that at all times herein mentioned, each

   12 of the Defendants was acting within the course and scope of such employment,

   13 partnership and/or agency and that each of the Defendants is jointly and

   14 severally responsible for the damages hereinafter alleged.

   15               FACTS COMMON TO ALL CLAIMS FOR RELIEF
   16         24.   Plaintiff LESIA ANSON is the widow and heir of Jay Anson
   17 (hereinafter, the “Author”) the author of the world-famous novel, The

   18 Amityville Horror (hereinafter, the “Novel”). Although marketed as “A True

   19 Story” of events that happened to George Lutz (“Lutz”) and his family, the
   20 Novel is clearly a work of fiction, replete with fantastic literary creations (e.g.,

   21 room(s) which are the sources of evil, ceilings and walls oozing green slime,

   22 plagues of flies in the dead of winter, demonic possessions, people levitating and

   23 floating away, a young woman transformed into a toothless old hag and then

   24 back to her natural state, a child talking to the supernatural spirit form of an

   25 enormous flying pig with red eyes, etc.)

   26         25.   The Novel was registered for copyright on July 29, 1977
   27 (Registration number A00000883095) and was first published on or about

   28 September 13, 1977. The Author died on March 12, 1980. Subsequent to the

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   30                            FOURTH AMENDED COMPLAINT
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    1 Author’s death, the copyright to the Novel was duly renewed by Plaintiff, as the

    2 Author’s widow, on December 23, 2004 (Registration number RE0000925090).

    3 Attached hereto as Exhibit “A” is a true and correct copy of Plaintiff’s renewal

    4 registration certificate from United States Copyright Office for the Novel.

    5        26.    In 1979 a theatrical feature-length motion picture entitled The
    6 Amityville Horror based upon and derived from duly licensed rights in the Novel

    7 (hereinafter, the “1979 Amityville Horror Film”) was produced by Professional

    8 Films, Inc. (“PFI”) and distributed by American International Pictures (“AIP”).

    9        27.    Plaintiff is informed and believes and based thereon alleges that in a
   10 2002 agreement, Lutz purported to grant to Dimension certain alleged rights to

   11 develop a sequel to the 1979 Amityville Horror Film, that was later modified to

   12 include more than one film production or TV series (the “2002 Lutz

   13 Agreement”).

   14        28.    In 2005, a theatrical feature-length motion picture remake, based
   15 upon and derived from the Novel and the 1979 Amityville Horror Film, also

   16 entitled The Amityville Horror (hereinafter, the “2005 Amityville Horror Film”)

   17 was co-produced, co-financed and co-distributed by Defendant DIMENSION

   18 and MGM (MGM was purportedly the successor to PFI and AIP) (the derivative

   19 1979 Amityville Horror Film and 2005 Amityville Horror Film are hereinafter
   20 collectively, the “Derivative Amityville Horror Films”).

   21        29.    Plaintiff is informed and believes and based thereon alleges that in
   22 or about 2005, DIMENSION was used as a label within MIRAMAX to produce

   23 and release genre films like the 2005 Amityville Horror Film; that in or about

   24 1993, MIRAMAX had been purchased by the Walt Disney Company

   25 (“Disney”), and that the WEINSTEINS continued to operate MIRAMAX until

   26 they left the company on or about September 30, 2005.
   27        30.    Plaintiff is informed and believes and based thereon alleges that
   28 under the terms of the WEINSTEINS’ departure from Disney they took

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    1 Defendant DIMENSION with them and made it a wholly-owned division of

    2 Defendant TWC, but that DIMENSION’S interests in all films which it had been

    3 produced or released prior to October 1, 2005, including the 2005 Amityville

    4 Horror Film, remained the property of Defendant MIRAMAX.

    5        31.    Plaintiff is informed and believes and based thereon alleges that on
    6 or about December 3, 2010 MIRAMAX was sold by Disney to Filmyard

    7 Holdings, a joint venture of Colony Capital, Tutor-Saliba Corporation, and the

    8 Qatar Investment Authority; and that on or about March 2, 2016, MIRAMAX

    9 was sold to beIN Media Group, a Qatari entertainment company owned by Al

   10 Jazeera Media Network.

   11        32.    Plaintiff is informed and believes and based thereon alleges that the
   12 grant of Lutz’s purported rights to DIMENSION under the 2002 Lutz

   13 Agreement expired by its own terms, and in 2009 Lutz entered into a subsequent

   14 agreement with TWC wherein Lutz granted TWC the option to develop a new

   15 sequel film to the 1979 Amityville Horror Film within thirty-six (36) months of

   16 the effective date of the agreement based on certain rights purportedly owned by

   17 Lutz (the “2009 Lutz Agreement”). Plaintiff is informed and believes and based

   18 thereon alleges that TWC exercised the option in May 2011.

   19        33.    On or about September 27, 2017, Defendants TWC and
   20 DIMENSION announced their release of a feature-length motion picture entitled

   21 Amityville: The Awakening written and directed by Frank Khalfoun (hereinafter,

   22 the “2017 Amityville Horror Sequel Film”). Thereafter, the 2017 Amityville

   23 Horror Sequel Film was streamed on Google Play from October 12 to November

   24 8, 2017, and released in theatres on October 28, 2017.

   25        34.    Plaintiff is informed and believes and based thereon alleges that the
   26 2017 Amityville Horror Sequel Film was released by Defendant LIONSGATE
   27 in Blu-Ray, DVD and digital HD on or about November 14, 2017.

   28        35.    After its theatrical bow on October 28, 2017, the 2017 Amityville
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   30                            FOURTH AMENDED COMPLAINT
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     1 Horror Sequel Film was widely reported to be “a sequel to the 1979’s The

     2 Amityville Horror”; “a reboot of the classic 1979 original movie ‘The

     3 Amityville Horror’”; “a direct sequel to The Amityville Horror – the 1979 horror

     4 [film]” etc., just as the WEINSTEINS, TWC and DIMENSION had intended

     5 and promoted it, and, on information and belief, none of the Defendants took

     6 any action to correct this intended public impression.

     7        36.     The 2017 Amityville Horror Sequel Film is a cinematic mess and
     8 received dreadful reviews (e.g., a “squashed green tomato” and 20% score on

     9 Rotten Tomatoes).

    10        37.     Plaintiff is informed and believes and based thereon alleges that
    11 Defendants’ botched 2017 Amityville Horror Sequel Film suffered one of the

    12 worst opening weekends of all time, grossing only $742 from 10 theaters or an

    13 average of $74 per theater.

    14        38.     Plaintiff is informed and believes and based thereon alleges that in
    15 or about 2011, DIMENSION/TWC and MIRAMAX had entered into a pact to

    16 produce and distribute sequel motion pictures derived from MIRAMAX’S

    17 better-known films, like the 2005 Amityville Horror Film; that the 2017

    18 Amityville Horror Sequel Film was developed pursuant this and that a prior

    19 iteration of this intended sequel was entitled The Amityville Horror: The Lost
    20 Tapes.

    21        39.     Between 2010 and 2013, MIRAMAX entered into a series of
    22 licensing, assignment, collaboration, and financing agreements with TWC,

    23 DIMENSION, and/or the WEINSTEINS including: (i) License Agreement,

    24 dated April 26, 2010; (ii) Amendment to Acquisition Agreement, dated August

    25 16, 2010; (iii) License Agreement, dated August 31, 2010; (iv) License

    26 Agreement, dated December 1, 2010; (v) Option, Co-Financing and
    27 Participation Agreement, dated December 3, 2010; (vi) Letter Agreement, dated

    28 March 10, 2011; (vii) Extension Letter No. 2, dated June 1, 2012; (viii) Short

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     1 Form Option and Amendment No. 1 to Short Form Option, dated December 3,

     2 2010 and June 5, 2012, respectively; (ix) Amendment No. 1 to Option, Co-

     3 Financing and Participation Agreement, dated June 5, 2012; and (x)

     4 Development Financing and Collaboration Agreement, dated May 10, 2013.

     5 The WENSTEINS were also parties to the December 3, 2010 Option, Co-

     6 Financing and Participation Agreement. In addition, MIRAMAX and TWC

     7 entered into an Agreement Confirmation on or about February 11, 2017.

     8 (Collectively the agreements alleged in this paragraph are hereinafter referred to

     9 as the “TWC/MIRAMAX Agreements”).

    10        40.    Plaintiff is informed and believes and based thereon alleges that, by
    11 virtue of MIRAMAX’S agreements with TWC, DIMENSION, and/or the

    12 WEINSTEINS, MIRAMAX participated in the development and production of

    13 the 2017 Amityville Horror Sequel Film, including without limitation by:

    14 licensing or purporting to license to TWC and/or DIMENSION intellectual

    15 property from MIRAMAX’S film catalog, including with respect to the 2005

    16 Amityville Horror Film; and by co-financing, approving, and collaborating with

    17 TWC, DIMENSION, and/or the WEINSTEINS on the development and

    18 production of works derived from the 2005 Amityville Horror Film. Plaintiff is

    19 informed and believes and based thereon alleges that MIRAMAX, through its
    20 agreements with TWC, DIMENSION, and/or the WEINSTEINS, materially

    21 contributed to their infringement of the Novel. Plaintiff is further informed and

    22 believes and based thereon alleges that MIRAMAX’S agreements with TWC,

    23 DIMENSION, and/or the WEINSTEINS provided MIRAMAX with the right

    24 and ability to supervise such Defendants’ development and production of the

    25 2017 Amityville Horror Film, including because such development and

    26 production was done pursuant to a purported license from MIRAMAX to use
    27 intellectual property purportedly belonging to MIRAMAX. Plaintiff is further

    28 informed and believes and based thereon alleges that MIRAMAX’S agreements

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    30                            FOURTH AMENDED COMPLAINT
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     1 with TWC, DIMENSION, and/or the WEINSTEINS provided MIRAMAX a

     2 financial benefit from the development, production, and distribution thereof,

     3 including in the form of a contingent participation.

     4        41.    Plaintiff is informed and believes and based thereon alleges that
     5 MIRAMAX’S credit as a production company was removed or not included in

     6 the credits of the 2017 Amityville Horror Sequel Film at MIRAMAX’S request.

     7 Notwithstanding the removal or omission of MIRAMAX’S credit from the

     8 film’s credits, Plaintiff is informed and believes and based thereon alleges that

     9 MIRAMAX remained involved in the development and production of the 2017

    10 Amityville Horror Sequel Film through at least February 2017, the date that

    11 MIRAMAX entered into an Agreement Confirmation with TWC. MIRAMAX

    12 is further identified as an uncredited production company of the 2017 Amityville

    13 Horror Sequel Film on the online film and television database IMDB.com.

    14        42.    Plaintiff is informed and believes and based thereon alleges that the
    15 production companies of the 2017 Amityville Horror Sequel Film include

    16 Defendants DIMENSION and MIRAMAX, the same parties -- currently or

    17 previously owned by the WEINSTEINS -- that were involved in the 2005

    18 Amityville Horror Film based upon the Novel, and that the sequel film is

    19 distributed by Defendants TWC and/or DIMENSION.
    20        43.    Defendant BLUMHOUSE is an additional credited production
    21 company of the 2017 Amityville Horror Sequel Film. Plaintiff is informed and

    22 believes that BLUMHOUSE co-produced the 2017 Amityville Horror Sequel

    23 Film in collaboration with the WEINSTEINS, TWC, DIMENSION, and

    24 MIRAMAX and in that capacity participated in the development, production,

    25 marketing, and distribution of the film.

    26        44.    Defendant HARVEY WEINSTEIN has been publicly credited as an
    27 Executive Producer of the 2017 Amityville Horror Sequel Film. Plaintiff is

    28 informed and believes and based thereon alleges that HARVEY WEINSTEIN,

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     1 as Executive Producer of the 2017 Amityville Horror Sequel Film and principal

     2 and control person of TWC / DIMENSION, was actively involved in and

     3 supervised the development, production, and promotion of the 2017 Amityville

     4 Horror Film. It has been publicly reported that HARVEY WEINSTEIN’S credit

     5 was removed from the titles of the 2017 Amityville Horror Film only after news

     6 of sexual assault allegations against HARVEY WEINSTEIN became public in

     7 or about October 2017.

     8        45.    Plaintiff is informed and believes and based thereon alleges that
     9 DIMENSION’S principal BOB WEINSTEIN, having directly participated with

    10 his brother HARVEY WEINSTEIN in the 2005 Amityville Horror Film,

    11 announced during the Cannes Film Festival in a press release personally directed

    12 by HARVEY WEINSTEIN for joint release by their company TWC and

    13 MIRAMAX (the “Cannes Press Release”) regarding their planned The

    14 Amityville Horror sequel film that: “[w]e are thrilled to return to the mythology

    15 of The Amityville Horror with a new and terrifying vision that will satisfy our

    16 existing fans … .”

    17        46.    The promotion and advertising of the 2017 Amityville Horror
    18 Sequel Film, which upon information and belief was personally directed and

    19 supervised by HARVEY WEINSTEIN and BOB WEINSTEIN included,
    20 without limitation: (i) the 2011 Cannes Press Release released by TWC,

    21 DIMENSION, and MIRAMAX; (ii) promotional posters widely distributed in or

    22 about 2017 (the “Posters”) by TWC, DIMENSION and/or LIONSGATE; and

    23 (iii) various promotional trailers (the “Trailer(s)”) widely distributed in or about

    24 2017 by TWC, DIMENSION and/or LIONSGATE, which likewise infringed

    25 and continue to infringe Plaintiff’s copyright in the Novel. One Trailer

    26 conspicuously features: (i) the 1977 Novel itself, clipped from the 2017
    27 Amityville Horror Sequel Film, with “THE AMITYVILLE HORROR by Jay

    28 Anson”, prominently displayed on its cover; (ii) characters referring to the story

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    30                            FOURTH AMENDED COMPLAINT
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     1 elements contained in the Novel; (iii) one character stating, “[M]aybe the evil

     2 only latches on every forty years” (i.e, the Novel was published forty years

     3 earlier in 1977); and (iv) another character stating, “It’s happening again”; all

     4 intended to promote and advertise the 2017 Amityville Horror Sequel Film as a

     5 continuation of the Amityville Horror brand and franchise that originated with

     6 and was based upon the Novel. At least one Poster for the 2017 Amityville

     7 Horror Sequel Film prominently featured the tag line, “Every house has a

     8 history. This one has a legend,” likewise intended to promote and advertise the

     9 2017 Amityville Horror Sequel Film as a continuation of the legendary brand

    10 and franchise that originated with the Novel.

    11         47.    Plaintiff is informed and believes and based thereon alleges that
    12 HARVEY WEINSTEIN directly participated in and supervised the promotion

    13 and advertising of the 2017 Amityville Horror Sequel Film, including personally

    14 directing the drafting, editing, and circulation of the 2011 Cannes Press Release,

    15 which referred to the intended Amityville Horror Sequel Film as “the first film

    16 to be produced under the agreement between Miramax and The Weinstein

    17 Company to create sequels to some of Miramax’s best-known properties”

    18 (italics added) and announced that it “showcases the events after the time of the

    19 original The Amityville Horror book.” The 2011 Cannes Press Release also
    20 quoted a producer of the intended Amityville Horror Sequel Film: “I’m thrilled

    21 to be working . . . . to reinvent one of the all-time great horror franchises . . . .”

    22 Plaintiff is informed and believes and based thereon alleges that HARVEY

    23 WEINSTEIN’s personal direction of the Cannes Press Release was part and

    24 parcel of his longstanding very “hands-on” approach to marketing and

    25 promoting films for TWC (which he referred to as his “mom & pop

    26 organization”), including HARVEY WEINSTEIN’S writing marketing materials
    27 for TWC films, and even providing quotes for filmmakers to use in promotional

    28 interviews. HARVEY WEINSTEIN further had an economic incentive to

    29
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    30                             FOURTH AMENDED COMPLAINT
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     1 encourage the promotion and advertising of the 2017 Amityville Horror Film,

     2 not only as Executive Producer and principal and control person of TWC /

     3 DIMENSION, but also as a party to the December 3, 2010 Option, Co-

     4 Financing and Participation Agreement between MIRAMAX and TWC and the

     5 June 5, 2012 amendment thereto.

     6         48.   Plaintiff is informed and believes and based thereon alleges that
     7 based on the WEINSTEINS’ and DIMENSION’S press releases, promotion and

     8 advertising of their new Amityville Horror film, the 2017 Amityville Horror

     9 Sequel Film was widely anticipated and considered to be, both within and

    10 outside the entertainment industry, as a sequel to their 2005 Amityville Horror

    11 Film as specifically intended by the WEINSTEINS and a continuation of the

    12 film franchise derived from the Novel. Plaintiff is further informed and believes

    13 and based thereon alleges that for instance, and without limitation, TWC /

    14 DIMENSION caused their Canadian licensee Defendant ENTERTAINMENT

    15 ONE to falsely promote the 2017 Amityville Horror Sequel Film as “a revival of

    16 the popular franchise” promulgating misrepresentations by the WEINSTEINS,

    17 TWC and DIMENSION.

    18         49.   Plaintiff is further informed and believes and based thereon alleges
    19 that Defendants TWC, DIMENSION, and/or BLUMHOUSE own the foreign
    20 distribution rights to the 2017 Amityville Horror Sequel Film and intend to

    21 distribute this film in all foreign territories outside the United States, including

    22 through their foreign distributor and licensee Defendant ENTERTAINMENT

    23 ONE, and that they have concluded and/or are in the process of entering into

    24 purported licenses with third parties to do so, including with

    25 ENTERTAINMENT ONE and its sub-licensees.

    26         50.   Plaintiff is informed and believes and thereon alleges that
    27 Defendants DIMENSION, TWC, and BLUMHOUSE intend to exploit ancillary

    28 products (e.g., merchandising and publications) derived from the 2017

    29
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    30                            FOURTH AMENDED COMPLAINT
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     1 Amityville Horror Sequel Film, and thus, the Novel, without Plaintiff’s

     2 permission, and that they have concluded and/or are in the process of entering

     3 into licenses with third parties to do so.

     4        51.    The title of the 2017 Amityville Horror Sequel Film, AMITYILLE-
     5 THE AWAKENING, clearly evokes a sequel motion picture; i.e., the

     6 reawakening of the house, and the supernatural evil forces that reside therein,

     7 depicted in the Novel and Derivative Amityville Horror Films. Plaintiff is

     8 informed and believes that due to Defendants’ press releases and promotion of

     9 the 2017 Amityville Horror Sequel Film, it is and will continue to be perceived

    10 both by members of the entertainment business and the general public as a

    11 legitimate sequel to the Derivative Amityville Horror Films based on the Novel.

    12        52.    The 2017 Amityville Horror Sequel Film, like Defendants’ 2005
    13 Amityville Horror Film is substantially similar to the Novel and contains

    14 substantially similar literary elements to those of the Novel, as further shown

    15 below. As such, Defendants’ exploitation of their 2017 Amityville Horror

    16 Sequel Film and ancillary rights and products knowingly exploits and infringes

    17 Plaintiff’s copyright in the Novel, including Plaintiff’s motion picture rights in

    18 the Novel, including sequel motion picture rights, merchandising rights in the

    19 Novel, and Plaintiff’s right under copyright to authorize derivative works based
    20 upon the Novel.

    21        53.    Plaintiff is informed and believes and based thereon alleges that
    22 Defendants, having produced, co-financed and co-distributed the 2005

    23 Amityville Horror Film based upon the Novel, were very well acquainted with

    24 the Novel and knew or should have known that their 2017 Amityville Horror

    25 Sequel Film qualified as a derivative work of the Novel, and exploited many of

    26 the Novel’s protected literary elements. Yet at no time prior to producing their
    27 2017 Amityville Horror Sequel Film did Defendants TWC, DIMENSION,

    28 MIRAMAX or BLUMHOUSE contact Plaintiff to license, or even inquire as to

    29
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    30                            FOURTH AMENDED COMPLAINT
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     1 the status of sequel motion picture and ancillary rights to the Novel.

     2        54.    On October 10, 2017, Plaintiff’s counsel sent Defendants a written
     3 cease and desist letter placing Defendants on further written notice of what was

     4 already abundantly clear to them – they lacked the proper chain-of-title and

     5 authority to exploit the 2017 Amityville Horror Sequel Film because they lacked

     6 the requisite rights to the Novel from which their sequel film was obviously

     7 derived. Defendants nonetheless blithely proceeded with their plans to release

     8 and distribute the 2017 Amityville Horror Sequel Film without the underlying

     9 rights to do so.

    10        55.    Defendants clearly had access to the original Novel. In fact, both
    11 their shooting script for the infringing 2017 Amityville Horror Sequel Film and

    12 the film itself includes numerous direct references to the Novel including

    13 characters reviewing the Novel and discussing its contents, as shown in more

    14 detail below.

    15        56.    The 2017 Amityville Horror Sequel Film makes express references
    16 to the Novel and the Derivative Amityville Horror Films. For instance, as the

    17 lead protagonist watches the 1979 Amityville Horror Film with her school

    18 friends, scenes in that film derived from the Novel are shown. The derivative

    19 2005 Amityville Horror Film is also mentioned and its DVD cover bearing the
    20 title THE AMITYVILLE HORROR is shown. The 2017 Amityville Horror

    21 Sequel Film displays the Novel and its cover, with the title THE AMITYVILLE

    22 HORROR” imposed on the house’s now iconic “face” with half-moon windows,

    23 and the name of the Novel’s sole Author, “Jay Anson,” prominently displayed.

    24

    25

    26
    27

    28

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    30                            FOURTH AMENDED COMPLAINT
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     1              Overwhelming Similarities Between the Novel and the
     2                         2017 Amityville Horror Sequel Film
     3        57.    Numerous elements from Defendants’ 2017 Amityville Horror
     4 Sequel Film, from beginning to end, including without limitation the characters,

     5 relationships, themes, setting, story, plot devices, and the interplay and

     6 sequencing of these elements, are substantially similar to and derived from

     7 original elements in the Novel that are copyright protectable.

     8        58.    Even the most cursory review of the 2017 Amityville Horror Sequel
     9 Film reveals glaring and substantial similarities to the Novel. Set forth below

    10 are some of the more obvious similarities.

    11      The Amityville Horror Novel                 The 2017 Amityville Horror
    12                                                           Sequel Film
    13   A. The title of the Novel is The            The film was originally entitled
    14     Amityville Horror, as was the title       The Amityville Horror: The Lost
    15     of the derivative 1979 film and the       Tapes, and then Amityville: The
    16     title of the derivative 2005 film, in     Awakening; itself suggesting a
    17     which Defendants WEINSTEINS,              derivative sequel to the Novel and
    18     DIMENSION and MIRAMAX all                 the Derivative Amityville Horror
    19     participated.                             Films.
    20

    21   B. Documentary or forensic framing          Documentary or forensic framing
    22     of the story at the beginning and         of the story at the beginning and
    23     end of the Novel.                         end of the 2017 Amityville Horror
    24                                               Sequel Film.
    25

    26   C. The prologue to the Novel starts         The prologue to the 2017
    27     with documentary-style television         Amityville Horror Sequel Film
    28     news footage describing how, in           consists of documentary-style
    29
               ___________________________________________________________________________
    30                            FOURTH AMENDED COMPLAINT
                                             18
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     1     November 1974, Ronald DeFeo               television news footage describing
     2     had taken a high-powered rifle and        how, in November 1974, Ronald
     3     methodically shot to death his            DeFeo had taken a high-powered
     4     entire family at 112 Ocean Avenue         gun and methodically shot to death
     5     in Amityville, New York                   his entire family at 112 Ocean
     6     (hereinafter the “DeFeo Murders”). Avenue in Amityville, New York.
     7

     8   D. The setting is the same house at         The setting is the same house at
     9     112 Ocean Avenue in Amityville,           112 Ocean Avenue in Amityville.
    10     with the now iconic half-moon             Although the actual house has not
    11     quarter windows that make the             had the iconic half-moon quarter
    12     house look like a face, and when          windows in decades, and the 2017
    13     illuminated at night, like a              Amityville Horror Sequel Film
    14     Halloween “pumpkin face” – The            takes place in the present, its house
    15     Amityville Horror house.                  includes and emphasizes the half-
    16                                               moon windows to capitalize on the
    17                                               Novel, the Derivative Amityville
    18                                               Horror Films and franchise.
    19
    20   E. The DeFeo Murders led to the             The DeFeo Murders led to the
    21     haunting of The Amityville Horror         haunting of the Amityville Horror
    22     house. The overall story revolves         house. The overall story revolves
    23     around a new family that moves            around a new family that moves
    24     into The Amityville Horror house.         into The Amityville Horror House.
    25     The supernatural demonic forces           The supernatural demonic forces
    26     inhabiting the house terrify its new      inhabiting the house terrify its new
    27     residents, causing them to lose a         residents, causing them to lose a
    28     grip on reality, and to turn on one       grip on reality, and to turn on one
    29
               ___________________________________________________________________________
    30                            FOURTH AMENDED COMPLAINT
                                             19
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     1     another.                                  another.
     2

     3   F. Thematically, there are dark             Thematically, there are dark
     4     unknowable supernatural forces in         unknowable supernatural forces in
     5     the world, and in particular demons the world, and in particular demons
     6     which historically occupy earthly         which historically occupy earthly
     7     settings and prey on negative             settings and prey on negative
     8     human emotions and frailties.             human emotions and frailties.
     9

    10   G. Thematically, we cannot                  Thematically, we cannot
    11     understand or control the                 understand or control the
    12     supernatural which can readily            supernatural which can readily alter
    13     alter our state of consciousness and our state of consciousness and blur
    14     blur the lines between our                the lines between our subconscious
    15     subconscious and reality.                 and reality.
    16

    17   H. Time is modern and seasonally,           Time is modern and seasonally, it
    18     it is the end of the year.                is the end of the year.
    19
    20   I. The mood is dark, brewing and            The mood is dark, brewing and
    21     increasingly frightening.                 increasingly frightening.
    22

    23   J. The story begins with a new              The story begins with a new family
    24     family pulling into the driveway          pulling into the driveway of the
    25     of the house at 112 Ocean                 house at 112 Ocean Avenue, and
    26     Avenue, and moving in.                    moving in.
    27

    28   K. On a lamp post at the end of the         The same “High Hopes” sign is
    29
               ___________________________________________________________________________
    30                            FOURTH AMENDED COMPLAINT
                                             20
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     1     paved driveway is a small sign            later seen stored in the basement of
     2     bearing the name “High Hopes.”            the house (even though it was
     3     This was the actual sign of the           reputedly destroyed after the
     4     DeFeo family (although it was             DeFeo Murders).
     5     reputedly destroyed after the
     6     DeFeo Murders).
     7

     8   L. As the family is moving in, there        As the family is moving in, there
     9     are boxes around and the furniture        are boxes around and the furniture
    10     and personal items are put into           and personal items are put into
    11     place over the course of the story.       place over the course of the story.
    12

    13   M. The biological father is not             The biological father is not present,
    14     present, the biological mother is         the biological mother is present, the
    15     present, the family has three             family has three children, and one
    16     children, and one of these children       of these children is a little girl
    17     is a little girl (“Missy”) who is 5       (“Juliet”) who looks 5 years old,
    18     years old, has blonde hair, and is        has blonde hair, and is portrayed as
    19     portrayed as very sweet, naive and        very sweet, naive and innocent.
    20     innocent.
    21
         N. The family has a large mangy dog         The family has a large mangy dog
    22
           with a male human name,                   with a male human name,
    23
           uncommon for a pet: “Harry.”              uncommon for a pet: “Larry.”
    24

    25
         O. The mother (“Kathy”) is quite            The mother (“Joan”) was quite
    26
           religious and a devout Christian.         religious and a devout Christian;
    27
                                                     and later she reverts to her faith.
    28

    29
               ___________________________________________________________________________
    30                            FOURTH AMENDED COMPLAINT
                                             21
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     1

     2   P. Harry, the dog, is the first to sense    Larry, the dog, is the first to sense
     3     unseen forces. Thereafter,                unseen forces. Thereafter,
     4     throughout the story, the dog reacts throughout the story, the dog reacts
     5     to unseen evil by barking,                to unseen evil by barking,
     6     growling, pawing the ground,              growling, pawing the ground,
     7     and/or whimpering, surprising             and/or whimpering, surprising
     8     family members.                           family members.
     9

    10   Q. Several features of the house are        Several features of the house are
    11     focused on as notable: the half-          focused on as notable: the half-
    12     moon quarter windows, the                 moon quarter windows, the
    13     boathouse outside, and later, the         remains of the boathouse outside,
    14     secret hidden room in the                 and later, the secret hidden room in
    15     basement.                                 the basement.
    16

    17   R. The lead protagonist looks out a         The lead protagonist looks out a
    18     window wearily and notices that           window wearily and notices that
    19     the dog is restless at the boathouse. the dog is restless at the boathouse.
    20

    21   S. The lead protagonist senses that         The lead protagonist exclaims “I
    22     something is very weird about the         have a weird feeling about this
    23     house. Otherworldly whispering is         house.” Otherworldly whispering is
    24     heard in the house.                       heard in the house.
    25

    26   T. There are inexplicable house flies       There are inexplicable house flies
    27     in the winter which soon appear to        in the winter which soon appear to
    28     be the harbinger of a supernatural        be the harbinger of a supernatural
    29
               ___________________________________________________________________________
    30                            FOURTH AMENDED COMPLAINT
                                             22
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     1     evil force.                               evil force.
     2

     3   U. The house has cold spots and foul        The house has cold spots and foul
     4     smells, sometimes without any             smells, sometimes without any
     5     apparent source.                          apparent source.
     6

     7   V. At night, the lead protagonist feels     At night, the lead protagonist feels
     8     the sudden need to wander through         the sudden need at night to wander
     9     the house.                                through the house.
    10

    11   W. The lead protagonist does                The lead protagonist does research
    12     research on the DeFeo Murders at          on the DeFeo Murders at school
    13     the library viewing microfiche of         viewing old newspaper accounts
    14     newspaper accounts.                       online.
    15

    16   X. Family members start sleeping            Family members start sleeping
    17     together as they become                   together as they become
    18     increasingly frightened by weird          increasingly frightened by weird
    19     events in the house.                      events in the house.
    20

    21   Y. As the evil force emerges so does        As the evil force emerges so does a
    22     a threatening black swarm of              threatening black swarm of buzzing
    23     buzzing house flies.                      house flies.
    24

    25   Z. A priest who counsels the family,        A doctor who counsels the family,
    26     but is set in his ways, makes a           but is set in his ways, makes a
    27     professional visit to the house and       professional visit to the house and
    28     is challenged by the evil                 is challenged by the evil
    29
               ___________________________________________________________________________
    30                            FOURTH AMENDED COMPLAINT
                                             23
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     1     supernatural force. Terrified, he         supernatural force. Terrified, he
     2     abruptly departs the house, without abruptly departs the house, without
     3     an explanation to the family, never       an explanation to the family, never
     4     to return.                                to return.
     5

     6   AA. The lead protagonist wakes up           The lead protagonist wakes up
     7     regularly at 3:15 a.m. (the time we       regularly at 3:15 a.m. (the time we
     8     are told the DeFeo Murders took           are told the DeFeo Murders took
     9     place), followed by mysterious,           place), followed by mysterious,
    10     unexplainable and often very              unexplainable and often very
    11     frightening visions and events.           frightening visions and events.
    12

    13   BB. 3:15 a.m. is when the house             We are told “3:15 a.m., that’s when
    14     supernaturally comes alive.               the house comes alive.”
    15

    16   CC. In the middle of the night the          In the middle of the night the lead
    17     lead protagonist is repeatedly            protagonist is repeatedly awakened,
    18     awakened, seemingly driven into a         seemingly driven into a state of
    19     state of altered consciousness by a       altered consciousness by a
    20     supernatural evil force, unable to        supernatural evil force, unable to
    21     distinguish reality from                  distinguish reality from
    22     nightmares; and as the story              nightmares; and as the story
    23     unfolds, the line becomes                 unfolds, the line becomes
    24     progressively blurred.                    progressively blurred.
    25

    26   DD. Windows and doors of the house Windows and doors of the house
    27     open, slam shut, and lock all on          open, slam shut, and lock all on
    28     their own. The opening windows            their own. The opening windows
    29
               ___________________________________________________________________________
    30                            FOURTH AMENDED COMPLAINT
                                             24
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     1     startle and chill family members,         startle and chill family members,
     2     letting in the cold winter air.           letting in the cold winter air. Door
     3      Door openings portend the arrival        openings portend the arrival of
     4     of supernatural evil forces and           supernatural evil forces and doors
     5     doors and windows slamming shut           and windows slamming shut and
     6     and locking prevent family                locking prevent family members
     7     members from escaping.                    from escaping.
     8

     9   EE. The mother is increasingly on           The mother is increasingly on edge,
    10     edge, and quick to lose her temper        and quick to lose her temper and
    11     and level accusations at her              level accusations at her child Belle.
    12     children.
    13

    14   FF. The mother, angered, violently          The mother angered hits her
    15     beats her children, seemingly for         daughter Belle, seemingly for the
    16     the first time, and the following         first time, and the following day
    17     day expresses guilt and regret            expresses guilt and regret about it.
    18     about it. The mother’s mental state Later, as the mother’s mental state
    19     deteriorates under the influence of       deteriorates under the influence of
    20     supernatural forces.                      supernatural forces, she knocks her
    21                                               daughter unconscious.
    22

    23   GG. The lead protagonist is drawn to        Juliet is drawn to the remains of the
    24     the boathouse; sees an ominous            boathouse, and when she wanders
    25     shadow lurking there and is driven        there she is confronted by the
    26     to repeatedly check the boathouse         vision of a dead body floating in
    27     at night.                                 the water.
    28   HH. Harry, the dog, has a particular        Harry, the dog, has a particular
    29
               ___________________________________________________________________________
    30                            FOURTH AMENDED COMPLAINT
                                             25
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     1     interest in the boathouse, sensing        interest in the boathouse, sensing
     2     unseen evil forces there. Later at        unseen evil forces there. Later at
     3     the boathouse the dog panics and          the boathouse deck the dog is
     4     strangles itself after jumping a          found dead and bloody, floating in
     5     fence on a leash.                         the water.
     6

     7   II. Kathy is on the first floor and         Belle is on the first floor and senses
     8     senses someone is staring at her,         a presence, she jumps when she
     9     she looks up, suddenly sees the           suddenly sees the little girl Juliet
    10     little girl Missy and she exclaims:       and she exclaims: “Juliet you can’t
    11     “Missy! You scared me half to             sneak up on people like that. What
    12     death. What’s the matter? What are are you doing up.”
    13     you doing up so early?”
    14

    15   JJ. The innocent Missy repeatedly has The innocent Juliet repeatedly has
    16     private friendly chit-chats with the      private friendly chit-chats with the
    17     supernatural being which has taken supernatural being which has taken
    18     a form she is comfortable with.           a form she is comfortable with.
    19     Missy views this as completely            Juliet views this as completely
    20     normal, however, it is portrayed as       normal, however, it is portrayed as
    21     an infiltration and a threat to           an infiltration and a threat to
    22     Missy’s safety.                           Juliet’s safety.
    23

    24   KK. At night, Kathy has visions             At night, Belle has visions
    25     of impending violence and murder. of impending violence and murder.
    26
    27   LL. Kathy sees a nightmare image of         Belle sees a nightmare image of
    28     DeFeo.                                    DeFeo.
    29
               ___________________________________________________________________________
    30                            FOURTH AMENDED COMPLAINT
                                             26
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     1

     2   MM. Kathy is confronted by the              Belle is confronted by the fleeting
     3     fleeting but terrifying image of a        but terrifying image of a
     4     supernatural demonic being.               supernatural demonic being.
     5

     6   NN. Repeated references to the “evil” Belle exclaims “this house is evil”
     7     that grips the house. A house             and elsewhere “this house is really
     8     visitor exclaims: “There’s                bad”!
     9     something bad in here, Kathy.”
    10

    11   OO. We are informed that the house          We are informed that the house
    12     was associated with occult rituals.       was associated with occult ritual.
    13

    14   PP. The mother enters a walk-in             The little girl Juliet enters a walk-in
    15     closet, is suddenly confronted by a       closet and is suddenly confronted
    16     sour smell and the fact the crucifix      by a supernatural demonic being.
    17     she had hung is now upside down
    18     due to some demonic force.
    19
    20   QQ. The mother is both                      The mother is both psychologically
    21     psychologically and physically            and physically seduced in an illicit
    22     seduced in an illicit fashion by the      fashion by the supernatural evil
    23     supernatural evil entity.                 entity.
    24

    25   RR. Walls in the house suddenly and         Walls in the house suddenly and
    26     inexplicably ooze thick green             inexplicably ooze thick dark red
    27     slime.                                    blood. See also Trailer.
    28   SS. As supernatural tensions increase,      As supernatural tensions increase,
    29
               ___________________________________________________________________________
    30                            FOURTH AMENDED COMPLAINT
                                             27
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     1     the lead protagonist is jarred by the the lead protagonist is jarred by the
     2     clap of thunder, as a terrible flash     clap of thunder, as a terrible flash
     3     of lightening outside lights up the      of lightening outside lights up the
     4     bedroom window.                          bedroom window.
     5

     6   TT. Family members see terrifying          Belle’s friend says that the house
     7     images at night and have trouble         “messes with your head until
     8     distinguishing their dreams from         you’re unable to tell the difference
     9     reality. The lead protagonist            between dreams and reality.”
    10     exclaims: “I wasn’t dreaming I tell
    11     you!”
    12

    13   UU. As supernatural tensions               As supernatural tensions increase it
    14     increase it starts to rain very          starts to rain very heavily.
    15     heavily.
    16

    17   VV. Kathy in her bedroom is afraid         Belle in her bedroom suddenly sees
    18     that if she looks up into the mirror     the terrifying image of a
    19     she will see the supernatural evil       supernatural demonic being in the
    20     being whose presence she senses.         mirror.
    21

    22   WW. A supernatural voice shouts            A family member, possessed by a
    23       “GET OUT!”                             supernatural force, spells out on a
    24                                              special monitor: “G E T O U T”!
    25

    26   XX. Kathy’s face is shockingly             In a Trailer for the 2017 Amityville
    27     transformed into a frighteningly         Horror Sequel Film, Belle sees
    28     withered 90-year old; when she           herself in a bathroom mirror, her
    29
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    30                           FOURTH AMENDED COMPLAINT
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     1     runs to the bathroom mirror she is       face shockingly transformed into a
     2     no longer a crone, but has deep          frightening visage with hollow eye
     3     ugly lines running down her              sockets, as black flies buzz around
     4     cheeks.                                  her.
     5

     6   YY. A spirit with a large demonic          A large demonic pig’s head with
     7     pig’s head and beady red eyes            beady red eyes appears outside a
     8     appears outside a window of the          window, scaring Belle. It turns out
     9     house, scaring Kathy.                    to be Belle’s friend wearing a
    10                                              mask, in reference to the scene in
    11                                              the Novel.
    12

    13   ZZ. In the 1979 Amityville Horror          The lead protagonist and her school
    14     Film based on the Novel, the lead        friends watch this 1979 film scene
    15     protagonist breaks through a brick       on television, and later the lead
    16     wall in the basement with a pick         protagonist breaks through a brick
    17     axe, revealing the hidden “Red           wall in the basement with a pick
    18     Room.”                                   axe, revealing the hidden “Red
    19                                              Room.”
    20

    21   AAA. We are informed that in pre-          Belle views the 1979 Amityville
    22     colonial times Shinnecok Indians         Horror Film which informs her and
    23     left the sick and mad to die on the      us that “this house is built on
    24     property; that they believed it to be sacred ground, devil worship,
    25     infested with demons; and that in        demons …”
    26     the late 1600’s a devil worshipper
    27     from Salem, Mass. practiced
    28     witchcraft and was buried on the
    29
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    30                           FOURTH AMENDED COMPLAINT
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     1     property.
     2

     3   BBB. Unseen supernatural forces in         Unseen supernatural forces in the
     4     the house appear to cause                house appear to cause electronic
     5     electronic equipment to suddenly         equipment to suddenly stop
     6     stop working.                            working.
     7

     8   CCC. As the lead protagonist conveys As the lead protagonist receives
     9     and receives information over the        information from a DVD player /
    10     phone regarding the strange              television as to the strange
    11     activities in the house, the phone       activities in the house both
    12     suddenly goes dead.                      suddenly go dead.
    13

    14   DDD. The potential sudden blowing          The potential sudden blowing of a
    15     of a fuse causes the lead                fuse causes the lead protagonist to
    16     protagonist to venture in the dark,      venture in the dark, with an iphone
    17     with a flashlight, down steps into       flashlight, down steps into the
    18     the basement to check the house’s        basement to check the house’s fuse
    19     fuse box, and is confronted by an        box, and is confronted by an awful
    20     awful stench.                            stench.
    21

    22   EEE. In the basement, the lead             In the basement, the lead
    23     protagonist sees the fleeting            protagonist sees the fleeting
    24     bearded visage of the murderer           bearded visage of the murderer
    25     Ron DeFeo!                               Ron DeFeo!
    26
    27   FFF. The basement of the house             The basement of the house contains
    28     contains a small hidden room with        a small hidden room with red walls
    29
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    30                           FOURTH AMENDED COMPLAINT
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     1     red walls which is called the “Red        which is called the “Red Room,”
     2     Room,” and it is said to be the           and it is said to be the source of
     3     source of evil in the house.              evil in the house.
     4

     5   GGG. The Novel contains floor plans         Belle is given a copy of the Novel,
     6     of the house, one showing the             which she leafs through and turns
     7     basement and location of the              to the floor plan showing the
     8     hidden “Red Room.”                        basement and location of the
     9                                               hidden “Red Room.” Later, she
    10                                               holds a copy of this floor plan.
    11

    12   HHH. The “Red Room” lies behind             The “Red Room” lies behind wood
    13     wood paneling; the lead                   paneling and when the lead
    14     protagonist tears off the wood and        protagonist tears off the wood, she
    15     peers inside, revealing a small           faces the brick wall. After breaking
    16     creepy room with red walls, and           through the wall she peers inside,
    17     the room emits a vile stench. It is       revealing a small creepy room with
    18     noted “[t]hat’s how blood smells.”        walls covered in red blood, and the
    19     The lead later exclaims that he will room emits a vile stench.
    20     wall off the Red Room’s entrance
    21     with bricks!
    22

    23   III. In the middle of the night a           In the middle of the night a
    24     shadowy figure approaches a               shadowy figure approaches Belle’s
    25     child’s bed as the child sleeps.          bed as she sleeps.
    26
    27   JJJ. The family tries to flee the house, Belle and Juliet try to flee the
    28     but supernatural forces prevent           house but supernatural forces
    29
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    30                            FOURTH AMENDED COMPLAINT
                                             31
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     1     them from leaving. The lead              prevent them from leaving. Belle
     2     protagonist exclaims: “It [the           exclaims: “It [the house”] won’t let
     3     house] won’t let us go.”                 us leave!” See also Trailer.
     4

     5   KKK. Towards the end of the story,         Towards the end of the story, the
     6     the mother Kathy has a crucifix          mother Joan has a crucifix with
     7     with which she unsuccessfully tries which she unsuccessfully tries to
     8     to banish the evil force.                banish the evil force.
     9

    10   LLL. The DeFeo Murders are                 Joan, the mother, is shot at close
    11     portrayed as potentially linked to       range and killed by her son, who
    12     an unidentified supernatural force.      has been possessed by a
    13     Kathy has a nightmare of DeFeo           supernatural evil force.
    14     shooting at close range and killing
    15     his mother (not the other family
    16     members he shot).
    17

    18   MMM. The new family that moved             What is left of the new family that
    19     into the house is so terrorized that     moved into the house are so
    20     they flee, leaving everything            terrorized that they flee, leaving
    21     behind.                                  everything behind.
    22

    23   NNN. The Novel ends with a                 The 2017 Amityville Horror Sequel
    24     documentary-style epilogue               Film ends with documentary news
    25     regarding the strange events that        footage regarding the strange
    26     have befallen 112 Ocean Avenue,          events which have once again
    27     Amityville, New York.                    befallen 112 Ocean Avenue,
    28                                              Amityville, New York.
    29
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    30                           FOURTH AMENDED COMPLAINT
                                            32
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     1        59.     The 2017 Amityville Horror Sequel Film makes direct references to
     2 the Novel and the Derivative Amityville Horror Films. For instance, as the lead

     3 protagonist watches the 1979 Amityville Horror Film with her school friends,

     4 and scenes in that film derived from the Novel are shown. The 2005 Amityville

     5 Horror Film is also mentioned and its DVD cover is shown. The 2017

     6 Amityville Horror Sequel Film similarly displays the Novel and its cover, with

     7 the title “THE AMITYVILLE HORROR” imposed on the house’s now iconic

     8 “face” with half-moon windows, and the name of the Novel’s sole Author, “Jay

     9 Anson,” prominently displayed.

    10        60.     On or about March 19, 2018, the parent company of TWC filed a
    11 bankruptcy petition on behalf of itself and its subsidiaries, including TWC,

    12 pursuant to Chapter 11 of Title 11 of the United States Code. Thereafter, TWC

    13 and/or its parent company entered into an Asset Purchase Agreement with

    14 Defendant LANTERN pursuant to which LANTERN agreed to acquire assets of

    15 TWC out of the bankruptcy. Plaintiff is informed and believes and based thereon

    16 alleges that pursuant to the Asset Purchase Agreement, any amendment(s)

    17 thereto, and/or any related agreement(s) between LANTERN and TWC and/or

    18 TWC’s parent company, LANTERN has acquired a controlling ownership

    19 interest in TWC’s rights or purported rights to the 2017 Amityville Horror
    20 Sequel Film.

    21        61.     Following LANTERN’s acquisition of a controlling ownership
    22 interest in the 2017 Amityville Horror Sequel Film, the film continues to be

    23 distributed to the public, including without limitation via pay television and

    24 online streaming services. Plaintiff is informed and believes and based thereon

    25 alleges that LANTERN has refused to stipulate to cease or enjoin the continued

    26 distribution of the 2017 Amityville Horror Sequel Film. Accordingly, Plaintiff is
    27 informed and believes and based thereon alleges that LANTERN is responsible

    28 for the continued infringement of the Novel through the ongoing distribution of

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    30                            FOURTH AMENDED COMPLAINT
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     1 the 2017 Amityville Horror Sequel Film.

     2        62.    Plaintiff is informed and believes and based thereon alleges that
     3 LANTERN has the right and ability to supervise the ongoing distribution of the

     4 2017 Amityville Horror Sequel Film by licensees or sub-licensees of the Sequel,

     5 and therefore the ongoing infringement of the Novel, by virtue of LANTERN’s

     6 controlling ownership of the 2017 Amityville Horror Sequel Film. Plaintiff is

     7 further informed and believes and based thereon alleges that, by virtue of

     8 LANTERN’s controlling ownership of the 2017 Amityville Horror Sequel Film,

     9 LANTERN receives a direct financial benefit from the ongoing distribution of

    10 the film, and therefore the ongoing infringement of the Novel.

    11        63.    Plaintiff is informed and believes and based thereon alleges that
    12 Defendants will continue to prepare, produce, copy, distribute or exploit, and/or

    13 authorize others to prepare, produce, copy, distribute or exploit the infringing

    14 2017 Amityville Horror Sequel Film and ancillary derivative works which copy

    15 and exploit the Novel in violation of the Copyright Act.

    16        64.    Plaintiff is concerned that any new derivative work based on the
    17 Novel made by her or her third-party assignees, grantees, or licensees will be

    18 subject to Defendants’ threat to bring a claim of copyright infringement in and to

    19 the unlawful 2017 Amityville Horror Sequel Film. Such a threat, though
    20 baseless, has and will continue to impede on Plaintiff’s ability to develop new

    21 derivative works.

    22        65.     Plaintiff is concerned that Defendants or their third-party
    23 assignees, grantees, or licensees will encumber Plaintiff’s rights in the Novel by

    24 asserting rights under agreements surrounding the Amityville Derivative Films

    25 and/or agreements with George Lutz, including without limitation the 2002

    26 George Lutz Agreement and 2009 George Lutz Agreement. Contractual
    27 limitations on the development of works related to the Amityville Derivative

    28 Films have impeded and continue to impede on Plaintiff’s ability to develop new

    29
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    30                            FOURTH AMENDED COMPLAINT
                                             34
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     1 derivative works.

     2        66.    As a direct and proximate result of Defendants’ actions Plaintiff
     3 will suffer imminent and irreparable harm, much of which cannot be reasonably

     4 or adequately measured or compensated in damages.

     5                            FIRST CLAIM FOR RELIEF
     6   (Copyright Infringement against all Defendants and DOES 1-10, excluding
     7                    ENTERTAINMENT ONE and LANTERN)
     8        67.    Plaintiff re-alleges and incorporates by reference paragraphs 1
     9 through 66 inclusive, as though fully set forth herein.

    10        68.    The Novel is a wholly original work and copyrightable subject
    11 matter under the laws of the United States.

    12        69.    The Novel was produced and distributed in strict conformity with
    13 the provisions of the Copyright Act and all other laws governing copyright.

    14        70.    The Novel was registered by its author Jay Anson for copyright on
    15 July 29, 1977 under registration number A00000883095, and subsequent to the

    16 author’s death on March 12, 1980, such copyright was duly renewed by

    17 Plaintiff, the author’s widow, on December 23, 2004 under registration number

    18 RE0000925090.

    19        71.    By their exploitation and release of the 2017 Amityville Horror
    20 Sequel Film, a motion picture indisputably derived from the Novel, Defendants

    21 knowingly and willfully infringed, and will continue to infringe, Plaintiff’s

    22 copyright and rights under copyright in the Novel.

    23        72.    Each infringement by Defendants and/or other parties of the Novel
    24 constitutes a separate and distinct act of infringement.

    25        73.    Plaintiff placed Defendants on notice of their infringement, yet
    26 Defendants continue to infringe Plaintiff’s rights under copyright, in willful
    27 disregard of and indifference to Plaintiff’s rights.

    28        74.    As a direct and proximate result of Defendants’ copyright
    29
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    30                            FOURTH AMENDED COMPLAINT
                                             35
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     1 infringement, Plaintiff has suffered and will continue to suffer severe injuries

     2 and harm, much of which cannot be reasonably or adequately measured or

     3 compensated in money damages if such wrongful conduct is allowed to continue

     4 unabated. The ongoing harm this wrongful conduct will continue to cause

     5 Plaintiff is both imminent and irreparable. Plaintiff’s injuries and damages

     6 include, but are not limited to loss of customers, diversion of trade, dilution of

     7 goodwill, injury to her business reputation, and the diminution of the value of

     8 her intellectual property.

     9        75.    Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a preliminary
    10 injunction, during the pendency of this action, and to a permanent injunction,

    11 enjoining Defendants, their officers, agents and employees, and all persons

    12 acting in concert with them, from engaging in such further violations of the

    13 Copyright Act.

    14        76.    Plaintiff is further entitled to recover from Defendants the damages,
    15 including pre-judgment interest it sustained and will sustain, and any income,

    16 gains, profits, and advantages obtained by Defendants as a result of their

    17 wrongful acts alleged hereinabove, in an amount which cannot yet be fully

    18 ascertained, but which shall be assessed at the time of trial.

    19        77.    Alternatively, Plaintiff is entitled to the maximum statutory
    20 damages recoverable, or for such other amounts as may be proper, pursuant to

    21 17 U.S.C. § 504.

    22        78.    Plaintiff is further entitled to her attorney’s fees and full costs
    23 pursuant to 17 U.S.C. § 505.

    24 //

    25 //

    26 //
    27 //

    28 //

    29
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    30                            FOURTH AMENDED COMPLAINT
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     1                            SECOND CLAIM FOR RELIEF
     2       (Contributory Copyright Infringement against all Defendants and
     3       DOES 1-10, excluding ENTERTAINMENT ONE and LANTERN)
     4        79.      Plaintiff realleges and incorporates by reference the allegations set
     5 forth above in Paragraphs 1 through 78 inclusive, as though fully set forth

     6 herein.

     7        80.      Plaintiff is informed and believes, and on that basis alleges, that
     8 Defendants induced, caused, or materially contributed to the copyright

     9 infringement by others of the Novel as alleged herein. Plaintiff is informed and

    10 believes, and on that basis alleges, that Defendants knew or had reason to know

    11 that the conduct of such other parties infringed Plaintiff’s copyright and rights

    12 under copyright.

    13        81.      Each infringement by Defendants and/or other parties of the Novel
    14 constitutes a separate and distinct act of infringement.

    15        82.      As a direct and proximate result of Defendants’ contributory
    16 copyright infringement, Plaintiff has suffered and will continue to suffer severe

    17 injuries and harm, much of which cannot be reasonably or adequately measured

    18 or compensated in money damages if such wrongful conduct is allowed to

    19 continue unabated. The ongoing harm this wrongful conduct will continue to
    20 cause Plaintiff is both imminent and irreparable. Plaintiff’s injuries and damages

    21 include, but are not limited to loss of customers, diversion of trade, dilution of

    22 goodwill, injury to her business reputation, and the diminution of the value of

    23 her intellectual property.

    24        83.      Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a preliminary
    25 injunction, during the pendency of this action, and to a permanent injunction,

    26 enjoining Defendants, their officers, agents and employees, and all persons
    27 acting in concert with them, from engaging in such further violations of the

    28 Copyright Act.

    29
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    30                              FOURTH AMENDED COMPLAINT
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     1        84.    Plaintiff is further entitled to recover from Defendants the damages,
     2 including pre-judgment interest it sustained and will sustain, and any income,

     3 gains, profits, and advantages obtained by Defendants as a result of their

     4 wrongful acts alleged hereinabove, in an amount which cannot yet be fully

     5 ascertained, but which shall be assessed at the time of trial.

     6        85.    Alternatively, Plaintiff is entitled to the maximum statutory
     7 damages recoverable, or for such other amounts as may be proper, pursuant to

     8 17 U.S.C. § 504.

     9        86.    Plaintiff is further entitled to her attorney’s fees and full costs
    10 pursuant to 17 U.S.C. § 505.

    11                           THIRD CLAIM FOR RELIEF
    12   (Vicarious Copyright Infringement against all Defendants and DOES 1-10,
    13                        excluding ENTERTAINMENT ONE)
    14        87.    Plaintiff re-alleges and incorporates by reference paragraphs 1
    15 through 86 inclusive, as though fully set forth herein.

    16        88.    Plaintiff is informed and believes and thereon alleges that
    17 Defendants, and each of them, if not directly liable for infringement of

    18 Plaintiff’s copyright in the Novel, are vicariously liable for said infringements.

    19 Plaintiff is informed and believes and thereon alleges that Defendants had the
    20 right and ability to supervise the infringing conduct of others, including without

    21 limitation the infringing conduct of co-Defendants and internet users who have

    22 viewed the 2017 Amityville Horror Sequel Film via an online streaming and/or

    23 downloading service.

    24        89.    Plaintiff is informed and believes and thereon alleges that
    25 Defendants possessed a direct financial interest in the infringing conduct of such

    26 other parties.
    27        90.    Each infringement by Defendants and/or other parties of the Novel
    28 constitutes a separate and distinct act of infringement.

    29
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    30                            FOURTH AMENDED COMPLAINT
                                             38
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     1        91.    As a direct and proximate result of Defendants’ vicarious copyright
     2 infringement, Plaintiff has suffered and will continue to suffer severe injuries

     3 and harm, much of which cannot be reasonably or adequately measured or

     4 compensated in money damages if such wrongful conduct is allowed to continue

     5 unabated. The ongoing harm this wrongful conduct will continue to cause

     6 Plaintiff is both imminent and irreparable. Plaintiff’s injuries and damages

     7 include, but are not limited to loss of customers, diversion of trade, dilution of

     8 goodwill, injury to her business reputation, and the diminution of the value of

     9 her intellectual property.

    10        92.    Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a preliminary
    11 injunction, during the pendency of this action, and to a permanent injunction,

    12 enjoining Defendants, their officers, agents and employees, and all persons

    13 acting in concert with them, from engaging in such further violations of the

    14 Copyright Act.

    15        93.    Plaintiff is further entitled to recover from Defendants the damages,
    16 including pre-judgment interest it sustained and will sustain, and any income,

    17 gains, profits, and advantages obtained by Defendants as a result of their

    18 wrongful acts alleged hereinabove, in an amount which cannot yet be fully

    19 ascertained, but which shall be assessed at the time of trial.
    20        94.    Alternatively, Plaintiff is entitled to the maximum statutory
    21 damages recoverable, or for such other amounts as may be proper, pursuant to

    22 17 U.S.C. § 504.

    23        95.    Plaintiff is further entitled to her attorney’s fees and full costs
    24 pursuant to 17 U.S.C. § 505.

    25 //

    26 //
    27 //

    28 //

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    30                            FOURTH AMENDED COMPLAINT
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     1                          FOURTH CLAIM FOR RELIEF
     2              (Violation of the Lanham Act § 15 U.S.C. § 1125(a)(1)(B)
     3                 Against All Defendants and DOES 1-10, excluding
     4              MIRAMAX, ENTERTAINMENT ONE, and LANTERN)
     5        96.     Plaintiff re-alleges and incorporates by reference paragraphs 1
     6 through 66 inclusive, as though fully set forth herein.

     7        97.     This Fourth Claim for Relief is for violation of Section
     8 1125(a)(1)(B) of the Lanham Act, not Section 1125(a)(1)(A). It pertains to

     9 Defendants’ false advertising and false promotion of its 2017 Amityville Horror

    10 Sequel Film (i) as a sequel to their 2005 Amityville Horror Film and to the 1979

    11 Amityville Horror Film and (ii) as a part of this film franchise, and, as such, this

    12 claim is independent of and does not rely upon Plaintiff’s copyright in the Novel

    13 or Defendants’ copyright infringement alleged hereinabove.

    14        98.     Plaintiff is informed and believes and thereon alleges that
    15 Defendants have misrepresented to their licensees, potential licensees and to

    16 members of the public, in Defendants’ commercial marketing, promotion and

    17 advertising, including, without limitation, by the statements made in the 2011

    18 Cannes Press Release, that the 2017 Amityville Horror Film is a bona fide

    19 sequel to their 2005 Amityville Horror Film and to the 1979 Amityville Horror
    20 Film and a continuation of this film franchise, with a willful intention to mislead

    21 and misrepresent the nature, characteristics and qualities of Defendants’ goods,

    22 services or commercial activities.

    23        99.     Plaintiff is informed and believes and thereon alleges that
    24 Defendants used such false claims or misleading descriptions, representations

    25 and wrongful omissions of fact in interstate commerce in order to induce others

    26 to enter into contracts or other forms of business arrangements with Defendants
    27 to exploit the 2017 Amityville Horror Sequel Film and other products derived

    28 therefrom, and to falsely induce consumers to see the film.

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    30                            FOURTH AMENDED COMPLAINT
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     1        100. Such use of false or misleading descriptions or representations of
     2 fact in interstate commerce is in opposition to the protection of the public

     3 interest.

     4        101. Defendants’ wrongful conduct has proximately caused and will
     5 continue to cause Plaintiff substantial injury and damage including, without

     6 limitation, loss of customers, dilution of goodwill, injury to her business

     7 reputation, lost profits and diminution of the value of her interests in the Novel,

     8 the Derivative Amityville Horror Films, and related derivative products and

     9 commercial activities. The ongoing harm this wrongful conduct will cause to

    10 Plaintiff is both imminent and irreparable, and the amount of damage sustained

    11 by Plaintiff will be difficult to ascertain if such wrongful conduct is allowed to

    12 continue unabated.

    13        102. By reason of the foregoing, Defendants have violated and are
    14 continuing to violate the Lanham Act, 15 U.S.C. § 1125(a)(1)(B).

    15        103. Plaintiff is entitled to an injunction, during the pendency of this
    16 action, and permanently, restraining Defendants, their officers, agents and

    17 employees, and all persons acting in concert with them from engaging in any

    18 further violations of the Lanham Act.

    19        104. Plaintiff has no adequate remedy at law with respect to these
    20 ongoing violations of the Lanham Act.

    21        105. Plaintiff is further entitled to recover from Defendants under 15
    22 U.S.C § 1117(a) up to three times the damages she sustained and will sustain

    23 and any income, gains, profits, and advantages obtained by Defendants as a

    24 result of their wrongful acts and omissions alleged hereinabove, plus reasonable

    25 attorneys’ fees and costs, in an amount which cannot yet be fully ascertained,

    26 but which shall be assessed at the time of trial.
    27

    28

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    30                            FOURTH AMENDED COMPLAINT
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     1                          FIFTH CLAIM FOR RELIEF
     2     (Unfair Competition Under California Business and Professions Code,
     3   §§ 17200 et seq. and California Common Law - Against All Defendants and
     4      DOES 1-10, excluding MIRAMAX, ENTERTAINMENT ONE, and
     5                                       LANTERN)
     6        106. Plaintiff re-alleges and incorporates herein by reference the
     7 allegations set forth in paragraphs 1 through 66, inclusive, and 96 through 105,

     8 inclusive, as though fully set forth herein.

     9        107. This Fifth Claim for Relief pertains to Defendants’ false
    10 advertising, marketing and promotion of the 2017 Amityville Horror Sequel

    11 Film: (i) as a sequel to their 2005 Amityville Horror Film and to the 1979

    12 Amityville Horror Film and (ii) as a part of this film franchise, and, as such, this

    13 claim is independent of and does not rely upon Plaintiff’s copyright in the Novel

    14 or Defendants’ copyright infringement alleged hereinabove.

    15        108. Plaintiff is informed and believes and thereon alleges that
    16 Defendants have misrepresented to their licensees, potential licensees and to

    17 members of the public, in Defendants’ commercial marketing, promotion and

    18 advertising, , including, without limitation, by the statements made in the 2011

    19 Cannes Press Release, that the 2017 Amityville Horror Film is a bona fide
    20 sequel to their 2005 Amityville Horror Film and to the 1979 Amityville Horror

    21 Film and a continuation of this film franchise, with a willful intention to mislead

    22 and misrepresent the nature, characteristics and qualities of Defendants’ goods,

    23 services or commercial activities.

    24        109. Defendants’ public misrepresentations in their advertising,
    25 marketing and promotion was both intended to deceive, cause confusion and

    26 mistake and was likely to deceive, cause confusion and mistake, all contrary to
    27 the public interest.

    28

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    30                            FOURTH AMENDED COMPLAINT
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     1         110. Defendants’ wrongful conduct, acts, and omissions alleged
     2 hereinabove constitute unlawful, unfair business practices and unfair

     3 competition under California Business and Professions Code §§ 17200 et seq.,

     4 and under the common law.

     5         111. As a direct and proximate result of Defendants’ conduct, acts, and
     6 omissions alleged hereinabove, Plaintiff is entitled to restitution of the income,

     7 gains, compensation, profits and advantages obtained, received or to be received

     8 by Defendants, or any of them, arising from their unauthorized exploitation of

     9 Plaintiff’s Novel, and in which Plaintiff possesses an ownership interest;

    10 Plaintiff is entitled to an order requiring Defendants, jointly and severally, to

    11 render an accounting to ascertain the amount of such proceeds.

    12         112. As a direct and proximate result of Defendants’ wrongful conduct,
    13 acts and omissions alleged hereinabove, Plaintiff has been damaged, and

    14 Defendants have been and will continue to be unjustly enriched, in an amount

    15 that shall be assessed at trial for which restitution and/or restitutionary

    16 disgorgement is appropriate. Such restitution and/or restitutionary disgorgement

    17 should include a declaration by this Court that Defendants are jointly and

    18 severally the constructive trustee(s) for the benefit of Plaintiff and an order that

    19 Defendants convey to Plaintiff all of the gross revenues received or to be
    20 received by Defendants arising from their unauthorized exploitation of

    21 Plaintiff’s Novel.

    22         113. Defendants’ wrongful conduct, acts and omissions have
    23 proximately caused and will continue to cause Plaintiff substantial injury and

    24 damage including, without limitation, loss of customers, dilution of goodwill,

    25 injury to Plaintiff’s reputation, and diminution of the value of Plaintiff’s rights.

    26 The harm this wrongful conduct will cause to Plaintiff is both imminent and
    27 irreparable, and the amount of damage sustained by Plaintiff will be difficult to

    28 ascertain if such wrongful conduct is allowed to continue without restraint.

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    30                            FOURTH AMENDED COMPLAINT
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     1        114. Pursuant to California Business and Professions Code § 17203
     2 Plaintiff is entitled to an injunction, during the pendency of this action, and

     3 permanently enjoining Defendants, their officers, agents and employees, and all

     4 persons acting in concert with them, from engaging in such further acts of unfair

     5 business practices and unfair competition.

     6        115. Plaintiff has no adequate remedy at law with respect to Defendants’
     7 ongoing unlawful conduct.

     8                            SIXTH CLAIM FOR RELIEF
     9                   (Declaratory Relief - Against All Defendants)
    10        116. Plaintiff re-alleges and incorporates herein by this reference
    11 paragraphs 1 through 115 inclusive, as though fully set forth herein.

    12        117. By reason of the foregoing facts, an actual and justiciable
    13 controversy has arisen and now exists between Plaintiff and Defendants

    14 regarding (i) the respective rights, if any, of the Defendants to produce or exploit

    15 an Amityville Horror film pursuant to the 2002 Lutz Agreement, the 2009 Lutz

    16 Agreement, the TWC/MIRAMAX Agreements, any agreement with PFI, AIP,

    17 MGM or any other agreement(s) and (ii) whether any Defendant has any right,

    18 by virtue of the 2017 Amityville Horror Film, or any agreement, to limit or

    19 encumber Plaintiff’s rights in the Novel, including, but not limited to, Plaintiff’s
    20 right to create and exploit new derivative works based on the Novel.

    21        118. Plaintiff therefore desires a judicial determination and declaration:
    22 (i) As to the respective rights any Defendant has to produce or exploit an

    23 Amityville Horror film, if any, pursuant to the 2002 Lutz Agreement, the 2009

    24 Lutz Agreement, the TWC/MIRAMAX Agreements, any agreement with PFI,

    25 AIP, MGM or any other agreement(s); and (ii) That no Defendant has any right,

    26 by virtue of the 2017 Amityville Horror Film, the 2009 Lutz Agreement, the
    27 2011 Lutz Agreement the TWC/MIRAMAX Agreements, any agreement with

    28 PFI, AIP, MGM or any other agreement(s), or otherwise, to limit or encumber

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    30                            FOURTH AMENDED COMPLAINT
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     1 Plaintiff’s rights in the Novel in any respect.

     2        119. A declaration of the Court is necessary and appropriate pursuant to
     3 the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq., so that Plaintiff may

     4 ascertain her rights with respect to the 2017 Amityville Horror Sequel Film.

     5                               PRAYER FOR RELIEF
     6        WHEREFORE, Plaintiff prays for judgment against the Defendants as
     7 follows:

     8                        ON THE FIRST CLAIM FOR RELIEF
     9        1.     For an order preliminarily during the pendency of this action and
    10 thereafter, permanently, (i) enjoining Defendants, their officers, agents,

    11 employees, licensees and assigns, and all persons acting in concert with them,

    12 from infringing the copyrights in the Novel, in any manner, and (ii) enjoining

    13 Defendants, their officers, agents, employees, licensees and assigns, and all

    14 persons acting in concert with them, from engaging in or authorizing the

    15 production, reproduction, distribution and/or exploitation of the infringing 2017

    16 Amityville Horror Sequel Film and ancillary products based thereon, derived

    17 from the Novel, without Plaintiff’s express written consent.

    18        2.     For compensatory and consequential damages, according to proof
    19 in an amount determined at trial, together with interest thereon as provided by
    20 law;

    21        3.     For an accounting and restitution to Plaintiff of all gains, profits and
    22 advantages Defendants have derived from their production, distribution and

    23 exploitation of the infringing 2017 Amityville Horror Sequel Film, ancillary

    24 exploitations based thereon, and from their copyright infringement of the Novel;

    25        4.     In the alternative to actual damages, for statutory damages pursuant
    26 to 17 U.S.C. §504(c), which election Plaintiff shall make prior to the rendering
    27 of final judgment herein; and

    28        5.     For such other and further relief and remedies available under the
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    30                            FOURTH AMENDED COMPLAINT
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     1 Copyright Act, 17 U.S.C. §§ 101 et seq., which the Court may deem just and

     2 proper.

     3                      ON THE SECOND CLAIM FOR RELIEF
     4        6.     For an order preliminarily during the pendency of this action and
     5 thereafter, permanently, (i) enjoining Defendants, their officers, agents,

     6 employees, licensees and assigns, and all persons acting in concert with them,

     7 from infringing the copyrights in the Novel, in any manner, and (ii) enjoining

     8 Defendants, their officers, agents, employees, licensees and assigns, and all

     9 persons acting in concert with them, from engaging in or authorizing the

    10 production, reproduction, distribution and/or exploitation of the infringing 2017

    11 Amityville Horror Sequel Film and ancillary products based thereon, derived

    12 from the Novel, without Plaintiff’s express written consent.

    13        7.     For an award of Defendants’ profits and Plaintiff’s compensatory
    14 and consequential damages, according to proof in an amount determined at trial,

    15 together with interest thereon as provided by law;

    16        8.     In the alternative to actual damages, for an award of statutory
    17 damages pursuant to 17 U.S.C. §504(c), which election Plaintiff shall make prior

    18 to the rendering of final judgment herein;

    19        9.     For an order requiring that Defendants provide a complete
    20 accounting and for the restitution to Plaintiff of all monies, gains, profits and

    21 advantages Defendants have derived from their production, distribution and

    22 exploitation of the infringing 2017 Amityville Horror Sequel Film and Trailers,

    23 ancillary exploitations based thereon, and from their copyright infringement of

    24 the Novel;

    25        10.    For an order imposing a constructive trust over all monies, gains,
    26 and profits Defendants derive from their production, distribution and
    27 exploitation of the infringing 2017 Amityville Horror Sequel Film and Trailers,

    28 ancillary exploitations based thereon, and from their copyright infringement of

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    30                            FOURTH AMENDED COMPLAINT
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     1 the Novel; and

     2        11.    For such other and further relief and remedies available under the
     3 Copyright Act, 17 U.S.C. §§ 101 et seq., which the Court may deem just and

     4 proper.

     5                       ON THE THIRD CLAIM FOR RELIEF
     6        12.    For an order preliminarily during the pendency of this action and
     7 thereafter, permanently, (i) enjoining Defendants, their officers, agents,

     8 employees, licensees and assigns, and all persons acting in concert with them,

     9 from infringing the copyrights in the Novel, in any manner, and (ii) enjoining

    10 Defendants, their officers, agents, employees, licensees and assigns, and all

    11 persons acting in concert with them, from engaging in or authorizing the

    12 production, reproduction, distribution and/or exploitation of the infringing 2017

    13 Amityville Horror Sequel Film and ancillary products based thereon, derived

    14 from the Novel, without Plaintiff’s express written consent.

    15        13.    For an award of Defendants’ profits and Plaintiff’s compensatory
    16 and consequential damages, according to proof in an amount determined at trial,

    17 together with interest thereon as provided by law;

    18        14.    In the alternative to actual damages, for an award of statutory
    19 damages pursuant to 17 U.S.C. §504(c), which election Plaintiff shall make prior
    20 to the rendering of final judgment herein;

    21        15.    For an order requiring that Defendants provide a complete
    22 accounting and for the restitution to Plaintiff of all monies, gains, profits and

    23 advantages Defendants have derived from their production, distribution and

    24 exploitation of the infringing 2017 Amityville Horror Sequel Film and Trailers,

    25 ancillary exploitations based thereon, and from their copyright infringement of

    26 the Novel;
    27        16.    For an order imposing a constructive trust over all monies, gains,
    28 and profits Defendants derive from their production, distribution and

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    30                            FOURTH AMENDED COMPLAINT
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     1 exploitation of the infringing 2017 Amityville Horror Sequel Film and Trailers,

     2 ancillary exploitations based thereon, and from their copyright infringement of

     3 the Novel; and

     4        17.    For such other and further relief and remedies available under the
     5 Copyright Act, 17 U.S.C. §§ 101 et seq., which the Court may deem just and

     6 proper.

     7                      ON THE FOURTH CLAIM FOR RELIEF
     8        18.    For an order preliminarily during the pendency of this action and
     9 thereafter permanently enjoining Defendants, their officers, agents, employees,

    10 licensees and assigns and all persons acting in concert with them, from engaging

    11 in such further violations of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B) as

    12 alleged hereinabove;

    13        19.    For treble compensatory and consequential damages according to
    14 proof in an amount to be determined at trial;

    15        20.    For an accounting of any and all unlawful proceeds received and to
    16 be received by Defendants;

    17        21.    For the imposition of a constructive trust for the benefit of Plaintiff
    18 on any and all unlawful proceeds received and to be received by Defendants;

    19 and
    20        22.    For such other and further relief and remedies available under the
    21 Lanham Act, 15 U.S.C. § 1125, which the Court may deem just and proper.

    22                        ON THE FIFTH CLAIM FOR RELIEF
    23        23.    For an accounting of any and all unlawful proceeds received and to
    24 be received by Defendants;

    25        24.    For the imposition of a constructive trust for the benefit of Plaintiff
    26 on any and all unlawful proceeds received and to be received by Defendants;
    27        25.    For restitution to Plaintiff of any and all unlawful proceeds received
    28 and to be received by Defendants;

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    30                            FOURTH AMENDED COMPLAINT
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     1        26.    For an order preliminarily during the pendency of this action and
     2 thereafter, permanently, enjoining Defendants, their officers, agents, employees,

     3 licensees and assigns, and all persons acting in concert with them, from

     4 engaging in such further unfair business practices and unfair competition under

     5 California Business and Professions Code §§ 17200 et seq., and/or §§17500 et

     6 seq., as alleged hereinabove; and

     7        27.    For such other and further relief and remedies available under
     8 California Business and Professions Code, §§ 17200 et seq. and §§ 17500,

     9 which the Court may deem just and proper.

    10                       ON THE SIXTH CLAIM FOR RELIEF
    11        28.    For a declaration:
    12               a.     As to the respective rights any Defendant has to produce or
    13 exploit an Amityville Horror film, if any, pursuant to the 2002 Lutz Agreement,

    14 the 2009 Lutz Agreement, the TWC/MIRAMAX Agreements, any agreement

    15 with PFI, AIP, MGM or any other agreement(s); and

    16               b.     That no Defendant has any right, by virtue of the 2017
    17 Amityville Horror Film, the 2009 Lutz Agreement, the 2011 Lutz Agreement the

    18 TWC/MIRAMAX Agreements, any agreement with PFI, AIP, MGM or any

    19 other agreement(s), or otherwise, to limit or encumber Plaintiff’s rights in the
    20 Novel in any respect.

    21        29.    For an order preliminarily during the pendency of this action and
    22 thereafter, permanently, enjoining Defendants, their officers, agents, employees,

    23 licensees and assigns, and all persons acting in concert with them, from:

    24               a.     Developing, producing or distributing another derivative
    25 work based in whole or in part on the Novel and/or the 1979 Amityville Horror

    26 Film and/or the 2005 Amityville Horror Film;
    27               b.     Limiting or encumbering, or purporting to limit or encumber,
    28 Plaintiff’s rights in the Novel in any respect, by virtue of the 2017 Amityville

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    30                            FOURTH AMENDED COMPLAINT
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     1 Horror Film or otherwise.

     2                           ON ALL CLAIMS FOR RELIEF
     3       30.      For Plaintiff’s costs of suit;
     4       31.      For interest at the highest lawful rate on all sums awarded Plaintiff
     5 other than punitive damages;

     6       32.      For reasonable attorneys’ fees; and
     7       33.      For such other and further relief as the Court deems just and
     8 appropriate.

     9 Dated: April 12, 2019           TOBEROFF & ASSOCIATES, P.C.
    10
                                             By: ____/s/ Marc Toberoff_______________
    11                                                   Marc Toberoff
    12                                       Attorneys for Plaintiff LESIA ANSON
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    30                            FOURTH AMENDED COMPLAINT
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     1                             JURY TRIAL DEMANDED
     2        Plaintiff hereby requests a trial by jury on each claim for relief alleged in
     3 the Complaint that is triable by a jury.

     4

     5   Dated: April 12, 2019        TOBEROFF & ASSOCIATES, P.C.
     6
                                             By: ____/s/ Marc Toberoff_______________
     7                                                   Marc Toberoff
     8                                       Attorneys for Plaintiff LESIA ANSON
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    30                            FOURTH AMENDED COMPLAINT
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